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Connect Wireless

U.S. D|STR!CT CUURT - N.D. OF N.Y.

F\LED

SEP -" 1 2015

AT U'CLOCK
Lai~tence K. Baennan, Uerk - Syauise

    

Civil action complaint

 

 

 

 

I. On May into ]une 2015 I was employed by GMR marketing for an
event that took place in Syracuse NY.
lI. l worked an event hosted by them, for connect wireless that l was
a brand representative doing marketing and sales
III. This company hired me for an event and then l was wrongfully
terminated and Was told I was terminated for sexual misconduct
and harassmentl
IV. This never occurred, What actually happened was I was
Wrongfully terminated for my sexual orientation and defending
transgendered people.
V. What occurred this day was the manager of the location l was
placed in Was insulting and discriminatory towards gays and
transgendered people, and in defense l was very unhappy with his

behavior and l complained, I was then terminated and told l was

 

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terminated for sexual harassment of customers and insulting
management These things did not occur. The location manager
also called me, which was provided in the investigationl l don’t
know why l would need to be called, if im so disruptive, sexual
harassing customers, and insulting transgendered people. This
simply made no sense. Why after doing all this would you need to
directly dial my phone number. lts simple because she lied, and
only went against me because the phone company was
embarrassed that l Wouldn’t allow them to continue insulting my
community or any community. The location Manager, ]ennifer.
Called me to ask about hotels and eating places, and where things
were located, this would make no sense to do ifi had been so
hanous of an employee. The call log is attached in the case tile,
that was submitted to Valerie Woods, during the investigationl
Along with a college paper written in 2006, about life as a
transgendered person, While I was attending ungrad. Which
seemed to get no light, but it was a subject I chose out of a billion
options, because I knew that this was a topic that Was lacking
discussion and decided to research futher and use it for my class

final paper. This was 2006. ln a college setting, so to insult them

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for a job I was employed for one day makes no sense today
tomorrow or ever, when associated with who I am or what I
would ever discuss.

VI. I am suing for improper practices and malicious wrong doing by
creating pretext to create a situation for me to lose employment
based on fabricated lies.

Vil. The marketing company did not witness any of this but dismissed
me without further investigation and actually hearing my side,
inside I was let go.

VIII. I am a member of a protected class being homosexual, I was
terminated for libel antics and pretext created by my employer
fabricating things that were not true or misleadingl

lX. My action is suing and having them found libel for these actions

In ending I appreciate your consideration of these matters and hope you

will consider this case and allow me the chance to prove what l am

claiming to be true and just and wanting to go on with my life and move

away from hopefully not having these situations occur again in my life

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UNITED STATES DISTRIC'I` COURT
NOR'I`HERN DISTRICT OF NEW YORK

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CO not Ct W“€ berman

 

 

CIVIL COMPLAINT ‘
PURSUANT TO
TITLE VH OF TI-IE
CIVIL RIGHTS ACT,
AS AN[ENDED

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Piainrifr($) demand(s) atrialby:NJURY | |coURT (selectomy ene).

 

JURISDICTION
1. Jurisdiction is conferred on this court pursuant to 42 U.S.C. § 2000e-5.
PARTIES
2. Plainu'ff: SllOtU\/\ (%Vl/LP M

 

Address: ‘Jf/] ga (O S+DY\€ hon 5" go
l_;\\/€/pf)j\ ./\JLj(
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' Addjtional Plaintiffs may be added on a separate sheet of paper.

3. a. Defendant: l mn£§;'{f`: '\-Ul`¢\/`Q`H
OfflciaIPosition: '\\TQ C,’\"D~J` L"W\¢ZV\ QQSG`M'QO
Address: K§_` NOM\ 61\\\(\€3»-9'“

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b. Defendam; 6)/_)}"| QG')L h l /€/§
ofaciai Posirion; ®i\lfé Uim/
Address: gm /i_/ YIZ`i/i\§y‘ him
5\#!//\6//)£ /V[/l i_ 31 O?

This action is brought pursuant to:

 

 

 

 

 

|:\ c aide VI[ of the Civil Rjghts Act of 1964, as amended, codified at 42 U.S.C.
§ 2000e er seq., and the Civil Rights Act of 1991, for employment discrimination
based on race, color, religion, sex or national origin.

 

 

 

Pregnancy Discrimination Act of 1928, codified at 42 U.S.C. § 2000e(k), as
amended, Civil Rights Act of 1964, and the Civil Rights Act of 1991, for
employment discrimination based on pregnancy

 

Venue is invoked pursuant to 28 U.S.C. s 1391.
Defendant’s conduct is discriminatory with respect to the following (check all that apply):

(A) J:|_ My race or color.

(B) E_ My religion

(C) E|_ My sex (or sexual harassment).

(D) E_ My national origin.

(E) _|:|_ My Presnancy- ~

(1=) _|Z|_ other Q fl UY\*i?t‘b\i> "\

The conduct complained of in this action involves:

 

 

(A) Failure to employ.
(B) Termination of employment
(C) Failure to promote.

 

 

 

(D) E_ Unequal terms and conditions of employment
(E) _|:[_ Reduction in wages.

(F) _[:l_ Retaiiation.
(G) E_ Other acts as specified below:

 

 

 

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8. FACTS

Set forth the facts of your case which substantiate your claims. List the events in the
order they happened, naming defendants involved, dates and places.

Note: You must include allegations of wrongful conduct as to EACH and EVERY
defendant in your complaint. (You may use additional sheets as necessary).

9. CAUSES OF ACTION

l Note: You must clearly state each cause of action you assert in this lawsuit.

FIRST CAUSE OF ACTION

10.

11.

12.

13.

l4.

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SECOND CAUSE OF AC'I`ION

THIRD CAUSE OF ACTION

I filed charges With the New York State Division on Human Rights, the New York City
Cornlnission on Hurnan Rights or Equal Employrnent Opportunity Commission regarding

the alleged discriminatory acts on or about: _ .---»
¢\.ir~€ 20 |

 

(Provide Da’te)

The Equal Employment Opportunity Commission issued a Notice-of-Right-to-Sue letter
leopy attached[ which was received by me on or about'.

fivij 3! 620/§

`('Provide Date)r
The plaintiff is an employee within the meaning of 42 U.S.C. § 2000e(t).

The defendant(s) is (are) an employer, employment agency, or labor organization within

the meaning of 42 U.S.C. § 2000e(b), (c), or (d).

The defendant(s) is (are) engaged in commerce within the meaning of 42 U.S.C.
§ 2000e(g).

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15. PRAYER FOR RELIEF

WHEREFORE, plaintiff(s) request(s) that this Court grant the following relief :

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l declare under penalty of perjury that the foregoing is true and c ect. w`“l diet/nu i

DATED: iii dol “¢ \l ;

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Signature oleai S
(all Plaintiffs )

 

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EEoc Form1s1(11ms) CaSe 5 1 CV S.E.E]QUAL MPLOYMENT OPPORTUN|TY COMM|SS|ON g

 

DlSM|SSAL AND NOT|CE OF RIGHTS

 

T°= Shaun Garvey me= New York Dlstrict Office
111 Mosley Drive Apt. 2 . 33 Whitehall Street
Syraouse, NY 13206 5th Floor

New York, NY 10004

 

 

m onbeharrerpersm(s) mustang ramein
coNFroENrrAL (29 cFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephons No.
Hol|y M. Woodyard,
166-2015-03572 State & Locai Program Manager ' (212) 336-3643
THE EEOC is CLOS|NG lTS FlLE ON Tl-llS CHARGE FOR THE FOLLOW!NG REASON: »"

The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as denned by the Americans Wlth Dlsabi|ities Act.

The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC: in other -words, you waited too long after the dete(s) of the alleged

discrimination to tile your charge

The EEOC issues the following detennination: Based upon its lnvestigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be oonstn.red as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

UE| |:][||]|:l|:|

Other (bn'efiy stats)

- NOT|CE OF SUIT RiGHTS -
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Title Vll, the Americans with Disabilitles Act, the Genettc information Nondiscrimlnation Act, or the Age
Discrimlnation ln Employment Act: This will be the only notice of dismissal and cf your right to sue that we will send you.-
You may file a lawsuit against the respondent(s) under federal law based on. this charge in federal or state court. Your
lawsuit must be filed WITH|N § DAYS of your receipt of this notice; or your right to sue based on this charge will be
iost. (The time limit for filing suit based on a claim under state law may be differenl.) `

Equal Fay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations} of the

alleged EPA underpayment This means that backpay due for any violations that occurred mgg then 2 Mrs 13 Mrsl
before you file suit may not be collectible.

On behalf of the Commission
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E“°'°*“'°S‘s’ f Kevin .r. eerry, // rose Mared)
D|strict Dlrector
mr ATTN:
Director of Human Reeources
CONNECT WIRELESS UPSTATE, LLC DiBiA
857 North Salina Street
Syracuse, NY 13208

